        Case 3:18-bk-33116                  Doc 9 Filed 10/15/18 Entered 10/15/18 13:41:48                                Desc Ch 7
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Information to identify the case:
Debtor 1              Donald Gene Winters                                               Social Security number or ITIN        xxx−xx−1118
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Hannah Marie Winters                                              Social Security number or ITIN        xxx−xx−0177
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Southern District of Ohio                     Date case filed for chapter 7 10/12/18
Case number: 3:18−bk−33116                Case Assigned To: Beth A. Buchanan


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).


The staff of the bankruptcy clerk's office cannot give legal advice.


To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Donald Gene Winters                                 Hannah Marie Winters

2.      All other names used in the
        last 8 years

3.     Address                               227 Ridge Avenue                                        227 Ridge Avenue
                                             Troy, OH 45373                                          Troy, OH 45373

4.     Debtor's attorney                     Douglas Andrew Venters                                 Contact phone (937) 339−2627
                                             314 W Main Street
       Name and address                      Troy, OH 45373                                         Email: aventers@millerluring.com

5.     Bankruptcy trustee                    David L Mikel                                          Contact phone 937−339−7181
                                             111 S. Plum St.
       Name and address                      Troy, OH 45373                                         Email: ch7trustee@dmikellaw.com
                                                                                                               For more information, see page 2 >
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        Case 3:18-bk-33116                     Doc 9 Filed 10/15/18 Entered 10/15/18 13:41:48                                           Desc Ch 7
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Debtor Donald Gene Winters and Hannah Marie Winters                                                                     Case number 3:18−bk−33116
6. Bankruptcy clerk's office     120 West Third Street                                                          Hours open 9:00 am − 4:00 pm
                                 Dayton, OH 45402−1819                                                          Monday through Friday
     Documents in this case may be filed at this
     address. You may inspect all records filed                                                                 Contact phone (937)225−2516
     in this case at this office or online at
     www.pacer.gov.
                                                                                                                Date: 10/15/18

7. Meeting of creditors                            December 10, 2018 at 08:30 AM                                Location:

     Debtors must attend the meeting to be         The meeting may be continued or adjourned to a later         Miami County Courthouse, 201
     questioned under oath. In a joint case,       date. If so, the date will be on the court docket. No        West Main Street, Troy, OH
     both spouses must attend. Creditors may       unauthorized cellular phones, cameras, recording
     attend, but are not required to do so.        devices, weapons, pagers or other portable                   45373
                                                   electronic devices are permitted on the court's
                                                   premises.


8. Presumption of abuse                            The presumption of abuse does not arise.
     If the presumption of abuse arises, you
     may have the right to file a motion to
     dismiss the case under 11 U.S.C. §
     707(b). Debtors may rebut the
     presumption by showing special
     circumstances.


9. Deadlines                                    File by the deadline to object to discharge                     Filing deadline: 2/8/19
                                                or to challenge whether certain debts are
     The bankruptcy clerk's office must receive dischargeable:
     these documents and any required filing
     fee by the following deadlines.
                                                   You must file a complaint:

                                                   • if you assert that the debtor is not entitled to
                                                     receive a discharge of any debts under any of the
                                                     subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                     or

                                                   • if you want to have a debt excepted from discharge
                                                     under 11 U.S.C § 523(a)(2), (4), or (6).

                                                   You must file a motion:

                                                   • if you assert that the discharge should be denied
                                                     under § 727(a)(8) or (9).


                                                   Deadline to object to exemptions:                            Filing deadline: 30 days after the
                                                   The law permits debtors to keep certain property as          conclusion of the meeting of creditors
                                                   exempt. If you believe that the law does not authorize
                                                   an exemption claimed, you may file an objection.


10. Proof of claim                                 No property appears to be available to pay creditors. Therefore, please do not file a proof of claim
     Please do not file a proof of claim unless    now. If it later appears that assets are available to pay creditors, the clerk will send you another notice
     you receive a notice to do so.                telling you that you may file a proof of claim and stating the deadline.


11. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the
    address                                        court to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy
                                                   law if you have any questions about your rights in this case.


12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                   distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that
                                                   list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not
                                                   authorize an exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office
                                                   must receive the objection by the deadline to object to exemptions in line 9.

13. Abandonment                                   Pursuant to L.B.R. 6007−1, the trustee may abandon property listed on the debtor's schedules upon
                                            the       request of any party in interest or upon the trustee's determination that there is no equity in the
                                            property      for the benefit of unsecured creditors and that the property is burdensome. Further notice to
                                            creditors      and other parties in interest is not required for the abandonment of any property unless a
                                            party in            interest, before the conclusion of the § 341 meeting, files a request for further notice of
                                            abandonment          with service of such notice on the trustee, or unless further notice is ordered by the court
                                            or requested by        the trustee.
If you would like to receive all future notices from the Bankruptcy Court electronically (email), you may register for the courts free Electronic
Bankruptcy Noticing (EBN) service. EBN is reliable, fast, and efficient. Additional details and registration are available at:
https://bankruptcynotices.uscourts.gov
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